          Case 22-33553 Document 816 Filed in TXSB on 08/15/24 Page 1 of 9
                                                                                     United States Bankruptcy Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                          August 13, 2024
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          Case 22-33553 Document 816 Filed in TXSB on 08/15/24 Page 2 of 9



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8,)8)617%2('32(-8-3273*8,-76()67,%00&)-11)(-%8)0=)**)'8-:)%2()2*36')%&0)9432-87

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                      Case 22-33553 Document 816 Filed in TXSB on 08/15/24 Page 3 of 9
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 22-33553-cml
Alexander E. Jones                                                                                                     Chapter 7
Official Committee Of Unsecured Creditor
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 7
Date Rcvd: Aug 13, 2024                                               Form ID: pdf002                                                           Total Noticed: 27
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 15, 2024:
Recip ID                   Recipient Name and Address
db                         Alexander E. Jones, c/o 2525 McKinnon Street, Suite 425, Dallas, TX 75201
aty                    +   Anna Kordas, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036-1000, UNITED STATES 10036-6730
aty                    +   Crowe & Dunlevy, 2525 McKinnon St, Suite 425, Dallas, TX 75201-1543
aty                    +   David Franklin Hill, IV, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036-6730
aty                    +   Jonathan Day, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Jones Murray LLP, 602 Sawyer Suite 400, Houston, Tx 77007-7510
aty                    +   Leslie E. Liberman, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Martin, Disiere, Jefferson & Wisdom, LLP, 808 Travis, Suite 1100, Houston, TX 77002-5831
aty                    +   Paul Andrew Paterson, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Reynal Law Firm, P.C., 917 Franklin St., Suite 600, Houston, TX 77002-1764
aty                    +   Richard A. Cochrane, Caldwell Cassady Curry PC, 2121 N. Pearl St., Ste. 1200, Dallas, TX 75201-2494
aty                    +   Theodore James Salwen, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036-6730
aty                    +   Vida Robinson, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
cr                     +   Elevated Solutions Group, LLC, c/o Walker & Patterson, P.C., P.O. Box 61301, Houston, TX 77208-1301
cr                     +   Erica L. Ash, c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701 UNITED STATES 78701-0137
cr                     +   Francine Wheeler, Cain & Skarnulis PLLC, Ryan E. Chapple, 303 Colorado Street, Suite 2850 Austin, TX 78701-0137
cr                     +   Free Speech Systems, LLC, Free Speech Systems, LLC, c/o Patrick Magill, 3019 Alvin Devane Blvd., Ste 300 Austin,, TX 78741-7417
cr                     +   Reeves Law, PLLC, 702 Rio Grande St., Suite 203, Austin, TX 78701-2720
cr                     +   Richard M. Coan, c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701-0137
cr                     +   Security Bank of Texas, P.O. Box 90, Crawford, Tx 76638-0090

TOTAL: 20

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     ^ MEBN
                                                                                        Aug 13 2024 20:13:13      Ally Bank, c/o Quilling, Selander, et al, 2001
                                                                                                                  Bryan Street, Suite 1800, Dallas, TX 75201-3070
cr                     + Email/PDF: acg.acg.ebn@aisinfo.com
                                                                                        Aug 13 2024 20:32:29      Ally Bank, c/o AIS Portfolio Services, LLC, 4515
                                                                                                                  N Santa Fe Ave. Dept. APS, Oklahoma City, OK
                                                                                                                  73118-7901
cr                         Email/PDF: bncnotices@becket-lee.com
                                                                                        Aug 13 2024 20:32:33      American Express National Bank, c/o Becket and
                                                                                                                  Lee LLP, PO Box 3001, Malvern, PA 19355-0701
cr                         Email/Text: creditcardbkcorrespondence@bofa.com
                                                                                        Aug 13 2024 20:14:00      Bank of America N.A., P.O. BOX 31785, Tampa,
                                                                                                                  FL 33631-3785
crcm                   + Email/Text: mbrimmage@akingump.com
                                                                                        Aug 13 2024 20:14:00      Official Committee Of Unsecured Creditors, c/o
                                                                                                                  Marty L. Brimmage, Jr., Akin Gump Strauss
                                                                                                                  Hauer & Feld LLP, 2300 N. Field Street, Suite
                                                                                                                  1800, Dallas, TX 75201-4675
cr                     + Email/Text: lemaster@slollp.com
                    Case 22-33553 Document 816 Filed in TXSB on 08/15/24 Page 4 of 9
District/off: 0541-4                                               User: ADIuser                                                          Page 2 of 7
Date Rcvd: Aug 13, 2024                                            Form ID: pdf002                                                      Total Noticed: 27
                                                                                   Aug 13 2024 20:14:00     PQPR Holdings Limited, LLC, c/o Streusand
                                                                                                            Landon Ozburn & Lemmon LLP, attn: Stephen
                                                                                                            Lemmon, 1801 S. Mopac Expressway, Suite 320,
                                                                                                            Austin, TX 78746-9817
cr                    + Email/Text: BKECF@traviscountytx.gov
                                                                                   Aug 13 2024 20:14:00     Travis County, c/o Jason A. Starks, P.O. Box
                                                                                                            1748, Austin, TX 78767-1748

TOTAL: 7


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
aty                           Akin Gump Strauss Hauer & Feld LLP
cr                            Carlee Soto Parisi
cr                            Carlos M Soto
intp                          David Ross Jones
cr                            David Wheeler
cr                            Donna Soto
cr                            Ian Hockley
cr                            Jacqueline Barden
cr                            Jennifer Hensel
cr                            Jillian Soto-Marino
cr                            Mark Barden
cr                            Nicole Hockley
cr                            Public Storage
cr                            Robert Parker
cr                            William Aldenberg
cr                            William Sherlach
cr              ##+           Leonard Pozner, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
                              77002-6774
cr              ##+           Marcel Fontaine, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin, Suite 2700, Houston, TX
                              77002-6774
cr              ##+           Neil Heslin, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
                              77002-6774
cr              ##+           Scarlett Lewis, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
                              77002-6774
cr              ##+           Veronique De La Rosa, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston,
                              TX 77002-6774

TOTAL: 16 Undeliverable, 0 Duplicate, 5 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 15, 2024                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 13, 2024 at the address(es) listed
below:
Name                             Email Address
                       Case 22-33553 Document 816 Filed in TXSB on 08/15/24 Page 5 of 9
District/off: 0541-4                                          User: ADIuser                                                          Page 3 of 7
Date Rcvd: Aug 13, 2024                                       Form ID: pdf002                                                      Total Noticed: 27
Annie E Catmull
                              on behalf of Creditor Free Speech Systems LLC aecatmull@o-w-law.com, aecatmull@ecf.courtdrive.com,llumtacae@gmail.com

Avi Moshenberg
                              on behalf of Plaintiff Leonard Pozner avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Creditor Leonard Pozner avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Creditor Marcel Fontaine avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Plaintiff Veronique De La Rosa avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Creditor Veronique De La Rosa avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
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Avi Moshenberg
                              on behalf of Creditor Scarlett Lewis avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Plaintiff Estate of Marcel Fontaine avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Plaintiff Neil Heslin avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Avi Moshenberg
                              on behalf of Plaintiff Scarlett Lewis avi.moshenberg@lmbusinesslaw.com avi.moshenberg@lmbusinesslaw.com

Bennett Greg Fisher
                              on behalf of Creditor Public Storage bennett.fisher@lewisbrisbois.com
                              amber.kaiser@lewisbrisbois.com;audrey.bridges@lewisbrisbois.com;jann.pigg@lewisbrisbois.com;maria.brito@lewisbrisbois.co
                              m;daniel.david@lewisbrisbois.com;andrea.silverman@lewisbrisbois.com

Bradley J. Reeves
                              on behalf of Creditor Reeves Law PLLC bradley.reeves@pillsburylaw.com

Christina Walton Stephenson
                              on behalf of Defendant Alexander E. Jones Crissie.Stephenson@crowedunlevy.com
                              elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Christina Walton Stephenson
                              on behalf of Debtor Alexander E. Jones Crissie.Stephenson@crowedunlevy.com
                              elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Christina Walton Stephenson
                              on behalf of Attorney Crowe & Dunlevy Crissie.Stephenson@crowedunlevy.com
                              elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Christopher R Murray
                              chris@jonesmurray.com crm@trustesolutions.net

Elizabeth Carol Freeman
                              on behalf of Trustee Melissa A Haselden liz@lizfreemanlaw.com
                              kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net

Eric Henzy
                              on behalf of Plaintiff Richard M. Coan ehenzy@zeislaw.com

Erin Elizabeth Jones
                              on behalf of Trustee Christopher R Murray erin@jonesmurray.com 8597346420@filings.docketbird.com

Federico Andino Reynal
                              on behalf of Attorney Reynal Law Firm P.C. areynal@frlaw.us

Ha Minh Nguyen
                              on behalf of U.S. Trustee US Trustee ha.nguyen@usdoj.gov

Jacqueline Chiba
                              on behalf of Trustee Christopher R Murray jackie@jonesmurray.com 8234279420@filings.docketbird.com

Jarrod B. Martin
                              on behalf of Plaintiff Neil Heslin jarrod.martin@chamberlainlaw.com
                              Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                              on behalf of Creditor Neil Heslin jarrod.martin@chamberlainlaw.com
                              Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com
                      Case 22-33553 Document 816 Filed in TXSB on 08/15/24 Page 6 of 9
District/off: 0541-4                                         User: ADIuser                                                     Page 4 of 7
Date Rcvd: Aug 13, 2024                                      Form ID: pdf002                                                 Total Noticed: 27
Jarrod B. Martin
                            on behalf of Plaintiff Leonard Pozner jarrod.martin@chamberlainlaw.com
                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                            on behalf of Plaintiff Scarlett Lewis jarrod.martin@chamberlainlaw.com
                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                            on behalf of Creditor Leonard Pozner jarrod.martin@chamberlainlaw.com
                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                            on behalf of Plaintiff Estate of Marcel Fontaine jarrod.martin@chamberlainlaw.com
                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                            on behalf of Creditor Veronique De La Rosa jarrod.martin@chamberlainlaw.com
                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                            on behalf of Creditor Marcel Fontaine jarrod.martin@chamberlainlaw.com
                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

Jarrod B. Martin
                            on behalf of Plaintiff Veronique De La Rosa jarrod.martin@chamberlainlaw.com
                            Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

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Jason Starks
                            on behalf of Creditor Travis County bkecf@traviscountytx.gov

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                            on behalf of U.S. Trustee US Trustee jayson.b.ruff@usdoj.gov

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                            on behalf of Creditor Veronique De La Rosa jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                            on behalf of Plaintiff Estate of Marcel Fontaine jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                            on behalf of Creditor Leonard Pozner jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                            on behalf of Plaintiff Veronique De La Rosa jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                            on behalf of Creditor Marcel Fontaine jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                            on behalf of Creditor Scarlett Lewis jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                            on behalf of Creditor Neil Heslin jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                            on behalf of Plaintiff Neil Heslin jhardy2@willkie.com mao@willkie.com

Jennifer Jaye Hardy
                            on behalf of Plaintiff Leonard Pozner jhardy2@willkie.com mao@willkie.com

John D Malone
                            on behalf of Creditor Security Bank of Texas myra@johnmalonepc.com myra@johnmalonepc.com

Johnie J Patterson
                            on behalf of Creditor Elevated Solutions Group LLC
                            wandp.ecf@gmail.com;WalkerPatterson@jubileebk.net;wp@ecf.courtdrive.com

Joshua W. Wolfshohl
                            on behalf of Trustee Christopher R Murray jwolfshohl@porterhedges.com
                            egarfias@porterhedges.com;ysanders@porterhedges.com;eliana-garfias-8561@ecf.pacerpro.com

Marty L Brimmage
                   Case 22-33553 Document 816 Filed in TXSB on 08/15/24 Page 7 of 9
District/off: 0541-4                                      User: ADIuser                                                        Page 5 of 7
Date Rcvd: Aug 13, 2024                                   Form ID: pdf002                                                    Total Noticed: 27
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